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                    UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF MINNESOTA
______________________________________________________________________________

In re:                                                              Jointly Administered under
                                                                    19-43756 (WJF)

Granite City Food & Brewery Ltd.                                    19-43756
Granite City Restaurant Operations, Inc.                            19-43757
Granite City of Indiana, Inc.                                       19-43758
Granite City of Kansas Ltd.                                         19-43759
Granite City of Maryland, Inc.                                      19-43760

                  Debtors.                            Chapter 11 Cases
______________________________________________________________________________

                  APPLICATION FOR ORDER AUTHORIZING
    EMPLOYMENT OF DUFF & PHELPS SECURITIES, LLC AS INVESTMENT
                    BANKERS AND FINANCIAL ADVISORS
______________________________________________________________________________

TO:      THE PARTIES-IN-INTEREST AS SPECIFIED IN LOCAL RULE 9013-3(A)(2).

         The above-captioned debtors and debtors in possession (together the “Debtors”)

respectfully submit this application (“Application”) for entry of an order (the “Order”)

substantially in the form attached hereto as Exhibit A, authorizing the Debtors to employ Duff &

Phelps Securities, LLC (“Duff & Phelps”) as the Debtors’ investment bankers and financial

advisors as of the Petition Date. This Application is filed under Local Rules 2014-1 and 9013-4.

         In support of this Application, the Debtors submit the Declaration of Brian Cullen, Duff

& Phelps’ Managing Director of Restructuring and Special Situations (the “Cullen Declaration”),

which is attached hereto as Exhibit B. In further support of the Application, the Debtors state as

follows:

                                JURISDICTION AND VENUE

         1.      This Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §§

157 and 1334, Federal Rule of Bankruptcy Procedure 5005, and Local Rule 1070-1. This a core



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proceeding pursuant to 28 U.S.C. § 157(b).

        2.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      The statutory bases for the relief requested herein are Sections 327(a), 328(a)

and 330 of Title 11 of the United States Code (the “Bankruptcy Code”), Rules 2014(a) and 2016

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Rule 2014-1.

                                         BACKGROUND

        4.      On December 16, 2019 (the “Petition Date”), each of the Debtors filed a

voluntary petition for relief under Chapter 11 of the Bankruptcy Code. The cases are now

pending before this Court. The Debtors are currently operating their businesses and managing

their properties as debtors-in-possession pursuant to Sections 1107(a) and 1108 of the

Bankruptcy Code. No trustee or examiner has been appointed in this Chapter 11 case.

        5.      Contemporaneously with the filing of this Application, the Debtors caused to be

filed their Joint Motion for Order Granting Expedited Relief and Authorizing Joint

Administration of Chapter 11 Cases Pursuant to Rule 1015(B) [Doc. # 8], pursuant to which the

Debtors seek, inter alia, joint administration of the above-captioned Chapter 11 cases. Each of

the Debtors joins in this Application.

        6.      A detailed description of the Debtors’ business, their capital structure, and the

facts and circumstances supporting this Application and Debtors’ Chapter 11 cases, appears in

the Declaration of Richard H. Lynch in Support of Chapter 11 Petitions and First Day Motions

[Doc. # 4], filed on December 16, 2019.

                                     RELIEF REQUESTED

        7.      Pursuant to Sections 327(a) and 328(a) of the Bankruptcy Code, the Debtors

seek entry of the accompanying Order authorizing the employment of Duff & Phelps: (a) as




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financial advisors, to assist the Debtors in the performance of their management, budgeting,

accounting and financial reporting obligations under the Bankruptcy Code, and (b) as investment

bankers to assist the Debtors in designing and implementing a process for the sale or sales of all

or substantially all of the Debtors’ assets.

        8.        The services of Duff & Phelps are necessary to assist the Debtors in the Chapter

11 process. Such services will include, but will not limited be limited to, updating the Debtors’

books and records, preparing financial documents and disclosures, balance sheets, income

statements, and monthly operating reports, and providing the Debtors with assistance preparing

schedules, statements and other pleadings as required by the Bankruptcy Code.

        9.        The Debtors also require Duff & Phelps’ assistance in carrying out an auction

process aimed at maximizing value for creditors while simultaneously creating a mechanism to

transfer the Debtors’ restaurants and other assets in a manner that preserves large numbers of

jobs in thirteen states.

                                RETENTION OF DUFF & PHELPS

        10.      Duff & Phelps is uniquely qualified to advise the Debtors in connection with

their strategic alternatives and the anticipated sale and restructuring transactions that are

currently contemplated in these Chapter 11 cases.

        11.      Duff & Phelps was founded in 1932 to provide high quality investment research.

Over the next six decades, the firm diversified by adding investment banking services. In 2005,

Duff & Phelps strengthened its core valuation capabilities with the acquisition of Standard &

Poor’s Corporate Value Consulting business. Since then, Duff & Phelps has continued to

expand. In 2006, it acquired Chanin Capital Partners, LLC, a leading provider of restructuring

advisory services, and has subsequently completed acquisitions of over ten specialty valuation




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and corporate finance practices.

        12.     Duff & Phelps has expanded to become a leading independent investment

banking advisory firm. Duff & Phelps’ corporate finance practice provides financial advice on

mergers and acquisitions, transaction opinions, financings, recapitalizations, restructurings,

distressed sales, and other strategic transactions. Duff & Phelps and its affiliates serve a diverse

set of clients around the world, as the firm has nearly 3,500 professionals in 28 countries around

the world. Duff & Phelps’ restructuring advisory group has advised on over $850 billion of

transactions. Its restructuring professionals provide investment banking services in financially

distressed situations, including advising debtors, creditors, and other constituents in chapter 11

proceedings and out-of-court restructurings.

        13.     Duff & Phelps and its professionals have extensive experience working with

financially troubled companies from a variety of industries in complex financial restructurings,

both out-of-court and in Chapter 11 cases. Duff & Phelps professionals have actively been

retained as professionals in numerous cases, including, among others: In re Café Holdings Corp

Case No. 18-05837 (Bankr. S.C. November 15, 2018); In re Relativity Media Case No. 18-11358

(MEW) (Bankr. S.D.N.Y. July 30, 2018); In re Cenveo, Inc., Case No. 18-2218 (Bankr.

S.D.N.Y. July 6, 2018); Mac Acquisition Case No. 17-12226 (MFW) (D. Del. October 18, 2017);

In re Arch Coal, Inc., Case No. 16-40120-705 (Bankr. E.D. Mo. Aug. 11, 2016) (approving the

retention of Duff & Phelps to provide valuation services); In re Cengage Learning, Inc., Case

No. 13-44106 (Bankr. E.D.N.Y. March 31, 2014) (same); In re The Reader’s Digest Ass’n, Case

No. 09-23529 (Bankr. S.D.N.Y. Jan. 19, 2010) (same); In re Chemtura Corp., Case No. 09-

11233 (Bankr. S.D.N.Y. Oct. 24, 2017) (same); In re American Airlines, (AMR Corp.); Friendly

Ice Cream Corp.; Citadel Broadcasting Corp.; and DBSD North America Inc.




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        14.      The resources, capabilities and experience of Duff & Phelps in advising debtors

will be of significant assistance to the Debtors during the course of the Chapter 11 cases. A

financial advisor and investment banker with a deep bench of experience, such as Duff & Phelps,

fulfills a critical need that complements the services offered by the Debtors’ other restructuring

professionals.

        15.      The Debtors have selected Duff & Phelps as their investment banker and

financial advisor based upon, among other things, (i) the Debtors’ need to retain an investment

banking and financial advisory firm to provide advice with respect to the Debtors’ restructuring

and possible sale transactions, and (ii) the extensive experience and excellent reputation of Duff

& Phelps’ professionals in providing investment banking services and financial advisory

services.

        16.      Prior to the Petition Date, the Debtors engaged Duff & Phelps to assist the

Debtors in pursuing a sale of the Debtors’ business assets or some other form of recapitalization

or restructuring. In connection with the engagement, Duff & Phelps (a) contacted hundreds of

potential buyers, lenders and investors, (b) helped the Debtors create and populate a digital due

diligence room; (c) negotiated confidentiality agreements with interested parties; (d) drafted a

teaser memo and Confidential Information Memorandum; (e) solicited indications of interest; (f)

negotiated letters of intent; and (g) negotiated Stalking Horse Asset Purchase Agreements

intended to set the baseline for competitive bidding in a Section 363 sale assuming the

Bankruptcy Court provides authorization to conduct the sale.

        17.      Duff & Phelps also canvassed potential lenders, identified JMB Capital as a

viable source of liquidity during these Chapter 11 cases, and negotiated the terms of a $5 million

debtor-in-possession loan package on the Debtors’ behalf.




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        18.     Prior to the Petition Date, Duff & Phelps also performed financial advisory

services for the Debtors and assisted in the preparations for the filing of these cases. Among

other things, Duff & Phelps helped the Debtors to create a rolling budget forecast for use in

measuring financial performance and complying with monthly reporting requirements under the

Bankruptcy Code and the Debtors’ debtor in possession loan. Duff & Phelps also provided the

Debtors assistance gathering information used in connection with the various first day motions.

        19.     Duff & Phelps has indicated a willingness to act on the Debtors’ behalf and to

render necessary professional services as investment bankers and financial advisors for the

Debtors.

                                      SCOPE OF SERVICES

        20.      The Debtors request authorization to employ Duff & Phelps to assist the Debtors

and their estates in all financial matters relating to the administration of the Debtors’ Chapter 11

estates. The scope of services to be provided by Duff & Phelps is set forth in that certain

engagement letter dated as of August 5, 2019, and as amended by that certain Addendum dated

September 6, 2019 (collectively, the “Engagement Letter”).

        21.      Services Duff & Phelps may render as investment bankers to the Debtors

include, but are not limited to, the following:

        •      Review and analyze the financial and operating statements of the Debtors;

        •      Evaluate the Debtors’ strategic and financial alternatives;

        •      Review and analyze the Debtors’ business and financial condition;

        •      Assist the Debtor in evaluating, structuring, negotiating and implementing the
terms (including pricing) and conditions of any sale or other transaction;

       •      Assist the Debtor in preparing, revising, or updating descriptive material to be
provided to potential parties to any transaction, including a teaser and confidential information
memorandum and a summary;




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        •      Prepare, revise, or update a list or lists of potential purchasers and investors;

        •      Contact potential purchasers and investors to solicit their interest in any
transaction and to provide them with the confidential information memorandum;

       •       Disseminate due diligence materials to prospective purchasers and investors and
maintain a secure data vault for review of due diligence materials;

        •      Participate in due diligence visits, meetings and consultations between the
Debtors and interested potential purchasers or investors, and coordinate and track distribution of
all information related to a Transaction with such parties;

       •     Attend auctions and, to the extent required, provide affidavits in support, in any
U.S. Bankruptcy Court with respect to any matters in connection with or arising out of Duff &
Phelps engagement by the Debtors;

       •      Render financial advice and participate in meetings or negotiations with the
Debtors’ stakeholders in connection with any transaction;

        •      Assist the Debtors with the design and implementation of key employee incentive
and retention programs;

       •      Assist the Debtors in the creation of a communications plan for interested
stakeholders;

        22.    Services Duff & Phelps may render as financial advisors to the Debtors include,

but are not limited, the following:


        •      Review or prepare financial projections;

        •      Review and monitor the Debtors’ term liquidity, including monitoring of the
Debtors’ weekly cash flows and preparation of a weekly variance report comparing the Debtors’
actual to budgeted results;

       •      Work with the Debtors and senior management to identify and implement short-
term and long-term liquidity generating initiatives;

       •      Work with Debtors and senior management to oversee the operations of the
Debtors through execution of selected courses of action;

       •       Advise and assist the Debtors’ management in the preparation of financial
information that may be required by the Bankruptcy Court or the Debtors’ creditors and other
stakeholders, and in coordinating communications with the parties in interest and their respective
advisors;

        •      Advise on business plans, cash flow forecasts and financial projections;



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       •       Advise and assist the Debtors and counsel in preparing for, meeting with and
presenting information to parties-in-interest and their respective advisors;

       •        Advise and assist the Debtors in the development of a plan of reorganization and
disclosure statement; and

        •     Provide other appropriate financial advice as may be required by the Debtors from
time to time.

                             PROFESSIONAL COMPENSATION

        23.     Duff & Phelps has agreed to be compensated in accordance with the applicable

provisions of the Bankruptcy Code and will apply to the Court for allowance of compensation

and reimbursement of expenses in accordance with the applicable provisions of the Bankruptcy

Code, the Federal Rules of Bankruptcy Procedure, the Local Bankruptcy Rules, this Court’s

Instructions for Filing a Chapter 11 case and orders of this Court.

        24.     Prior to the commencement of the above-captioned cases, the Debtors paid Duff

& Phelps retainers in the aggregate amount of $691,957.00, in monthly installments of

$50,000.00, to act as the Debtors’ investment banker (the “Monthly Fees”) and hourly fees for

provided financial advisory services (the “Hourly Fees”), to compensate Duff & Phelps for all

work performed in connection with these Chapter 11 cases prior to the Petition Date. During

this prepetition period, in addition to general financial advice, Duff & Phelps provided

comprehensive advice and assistance to aid the Debtors’ efforts to restructure, including: (a)

identifying potential strategies to refinance, recapitalize or restructure existing indebtedness; (b)

assisting in negotiations with the Debtors’ secured lenders; (c) structuring and implementing a

solicitation and sale process; (d) managing liquidity needs and negotiating a senior, secured pre-

petition bridge loan and post-petition loan agreement; (e) gathering information and data

needed to initiate a Chapter 11 case; (f) providing assistance in determining the Debtors’ needs

as of the date of filing and in the identification and preparation of first day motions and other




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first day filings; (g) developing budget to satisfy reporting requirements prior to and during the

bankruptcy cases. Duff & Phelps applied $541,957.00 on account of prepetition work, leaving

a balance of $150,000.00. The Debtors have agreed that Duff & Phelps will hold the remaining

balance in trust for application against its final allowed fees, and the fees and expenses incurred

the day prior to the Petition Date which may not have been fully paid prior to filing.

        25.     Duff & Phelps intends to apply for compensation for professional services

rendered on an hourly basis with respect to its financial advisory services, and for monthly fees

with respect to investment banking services, as well as for reimbursement of expenses Duff &

Phelps incurs in these cases, all subject to the Court’s approval and in compliance with

applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules and the

orders of this Court.

        26.     The hourly rates and rate structure that Duff & Phelps will use in these Chapter

11 cases are the same as the hourly rates and rate structure that Duff & Phelps uses in other

complicated restructuring matters and in similarly complex corporate and securities matters.

The rates are based upon, among other things, the level and sophistication of each

professional’s experience, his or her area of specialization, the expertise, performance and

reputation, the size and complexity of the matter, and other factors.

        27.     Duff & Phelps’ current hourly rates for financial advisory services related to

these Chapter 11 cases range as follows:

                          Billing Category                 Hourly Rate
                          Managing Directors               $750.00
                          Directors                        $677.00
                          Vice Presidents                  $538.00
                          Associates                       $325.00
                          Analysts                         $285.00
                          Administration                   $114.00




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        Duff & Phelps’ hourly rates are designed to compensate Duff & Phelps fairly for the

work of its professionals. Hourly rates vary with experience and seniority. The Debtors believe

that Duff & Phelps’ rates are fair and reasonable.

        28.        In addition to the hourly fee paid for financial advisory services, Duff & Phelps

charges a monthly fee of $50,000.00 for its investment banking work with Debtors. This fee is

due in advance on the first business day of each month. Duff & Phelps will segregate and

exclude from hourly billings related to financial advisory services the time Duff & Phelps

professionals spend providing investment banking services covered by the above-described

monthly fee.

        29.        If a Restructuring Transaction, Sale Transaction or Financing Transaction

occurs (as defined in the Engagement Letter), Debtors shall pay to Duff & Phelps a non-

refundable cash fee as follows:

               •        Restructuring Transaction Fee: $1,250,000.00;

               •        Sale Transaction Fee: $1,250,000.00;

               •        Financing Transaction: a cash fee equal to the sum of: (i) 1.0% of the

                        principal amount of any secured debt raised, plus (ii) 3% of the principal

                        amount of any unsecured or mezzanine debt raised, plus (iii) 5% of the

                        agreed value of any equity raised.

        30.        Duff & Phelps’ policy is to charge clients for its reasonable and documented

out-of-pocket expenses incurred in connection with the client’s matter. Such expenses include

reasonable travel expenses, pre-approved computer and research charges, reasonable attorney

fees of outside counsel, messenger services and long-distance telephone calls. Duff & Phelps

intends to seek reimbursement for such expenses in connection with the fee application process.




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        31.     The Debtors propose that Duff & Phelps be authorized to file interim fee

applications to be heard on 30-day intervals from and after the Petition Date.

        32.     The Debtors are affiliated companies with common ownership and common

secured lenders and have a unity of interest in these cases. Except for potential claims under

cross-guarantees, the Debtors do not believe they have claims against each other. The Debtors

believe their estates should jointly employ Duff & Phelps in these bankruptcy cases. Retaining

separate investment bankers and financial advisors for each of the Debtors would be cost-

prohibitive and would result in needless duplication of effort and expenditure of estate

resources. The Debtors therefore request that the Court authorize Duff & Phelps’ employment

by all of the Debtors.

                          DUFF & PHELPS’ DISINTERESTEDNESS

        33.     The Debtors have reviewed the accompanying Cullen Declaration. To the best

of the Debtors’ knowledge, and as set forth more fully in the Cullen Declaration, (a) Duff &

Phelps does not represent any other entity in connection with these cases; (b) Duff & Phelps is a

“disinterested person” within the meaning of Section 101(14) of the Bankruptcy Code, as

required by Section 327(a) of the Bankruptcy Code; (c) Duff & Phelps does not hold or

represent an interest adverse to Debtors’ estates; and (d) except as may be set forth in the Cullen

Declaration, Duff & Phelps does not have any connection with the Debtors, their creditors, any

other party in interest, their respective attorneys and accountants, the United States Trustee, or

any person employed in the office of the United States Trustee, except as may be set forth in the

Cullen Declaration.

        34.     Based on the information set forth in the Cullen Declaration, the Debtors

believe that Duff & Phelps is a “disinterested person” under Section 327 of the Bankruptcy




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                       EXHIBIT A




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                    UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF MINNESOTA
______________________________________________________________________________

In re:                                                             Jointly Administered under
                                                                   19-43756 (WJF)

Granite City Food & Brewery Ltd.                                   19-43756
Granite City Restaurant Operations, Inc.                           19-43757
Granite City of Indiana, Inc.                                      19-43758
Granite City of Kansas Ltd.                                        19-43759
Granite City of Maryland, Inc.                                     19-43760

                  Debtors.                            Chapter 11 Cases
______________________________________________________________________________

                                   ORDER
_____________________________________________________________________________

         Upon application by the Debtors for an Order approving the retention of Duff & Phelps

Securities, LLC, 11150 Santa Monica Boulevard, Floor 6, Los Angeles, California 90025, as

investment bankers and financial advisors for the Debtors in the above-captioned proceeding, the

Court, having reviewed the Debtors’ Application and the Declaration of Brian Cullen filed

therewith and the certificate of review and recommendation for employment by the office of the

United States Trustee, and the files and records herein,

         IT IS ORDERED:

         1.     The employment of Duff & Phelps Securities, LLC as investment bankers and

financial advisors to the debtors-in-possession in carrying out their duties under Title 11 of the

United States Bankruptcy Code is approved upon the terms set forth in the parties’ Engagement

Letter and Addendum.

         2.     Fee applications by Duff & Phelps Securities, LLC may be heard on thirty (30)

day intervals from the commencement of the case.
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                                          BY THE COURT:


Dated:                                    ___________________________
                                           William J. Fisher
                                           United States Bankruptcy Judge
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                       EXHIBIT B




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                    UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF MINNESOTA
______________________________________________________________________________

In re:                                                           Jointly Administered under
                                                                 19-43756 (WJF)

Granite City Food & Brewery Ltd.                                 19-43756
Granite City Restaurant Operations, Inc.                         19-43757
Granite City of Indiana, Inc.                                    19-43758
Granite City of Kansas Ltd.                                      19-43759
Granite City of Maryland, Inc.                                   19-43760

                  Debtors.                            Chapter 11 Cases
______________________________________________________________________________

                      DECLARATION OF BRIAN CULLEN
______________________________________________________________________________

         I, Brian Cullen, make the following declaration (“Declaration”) in support of the

Application (“Application”) of the above-captioned debtors (the “Debtors”) to employ Duff &

Phelps Securities, LLC (“Duff & Phelps”) as investment bankers and financial advisors effective

as of December 16, 2019 (the “Petition Date”).

         1.    I am the Managing Director of Restructuring and Special Situations with Duff &

Phelps, 11150 Santa Monica Boulevard, Floor 6, Los Angeles, California 90025. Except as

otherwise indicated, the facts set forth in this Declaration are personally known to me and, if

called as a witness, I could and would testify thereto.

         2.    I submit this Declaration in support of the Debtors’ Application for Orders

Authorizing Employment of Duff & Phelps Securities, LLC as Investment Bankers and Financial

Advisors (“Application”) pursuant to 11 U.S.C. §§ 327 and 328 and Rule 2014 of the Federal

Rules of Bankruptcy Procedure. I have read the Application and hereby incorporate its factual

statements.




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        3.     Duff & Phelps is familiar with the Debtors’ financial affairs and many of the

potential financial issues that may arise in these Chapter 11 cases and has experience in all

financial aspects of proceedings under Chapter 11.

                                SERVICES TO BE PROVIDED

        4.     Subject to further order of the Court and that certain engagement letter dated as of

August 5, 2019, and as amended by that certain Addendum dated September 6, 2019

(collectively, the “Engagement Letter”), a copy of which is attached as Exhibit 1 to this

Declaration, the financial services to be rendered by Duff & Phelps to the Debtors include, but

may not be limited to, the following:

        •      Review and analyze the financial and operating statements of the Debtors;

        •      Evaluate the Debtors’ strategic and financial alternatives;

        •      Review and analyze the Debtors’ business and financial condition;

        •      Assist the Debtor in evaluating, structuring, negotiating and implementing the
terms (including pricing) and conditions of any sale or other transaction;

       •      Assist the Debtor in preparing, revising, or updating descriptive material to be
provided to potential parties to any transaction, including a teaser and confidential information
memorandum and a summary;

        •      Prepare, revise, or update a list or lists of potential purchasers and investors;

        •      Contact potential purchasers and investors to solicit their interest in any
transaction and to provide them with the confidential information memorandum;

       •       Disseminate due diligence materials to prospective purchasers and investors and
maintain a secure data vault for review of due diligence materials;

        •      Participate in due diligence visits, meetings and consultations between the
Debtors and interested potential purchasers or investors, and coordinate and track distribution of
all information related to a Transaction with such parties;

      •      Attend auctions and, to the extent required, provide affidavits in support, in any
U.S. Bankruptcy court with respect to any matters in connection with or arising out of this
Agreement;

        •      Render financial advice and participate in meetings or negotiations with the



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Debtors’ stakeholders in connection with any transaction;

        •      Assist the Debtors with the design and implementation of key employee incentive
and retention programs;

       •      Assist the Debtors in the creation of a communications plan for interested
stakeholders;

        •      Review, or prepare financial projections;

        •      Review and monitor the Debtors’ term liquidity, including monitoring of the
Debtors’ weekly cash flows and preparation of a weekly variance report comparing the Debtors’
actual to budgeted results;

        •      Work with the Debtors and its senior management to identify and implement
short-term and long-term liquidity generating initiatives;

       •      Work with Debtors and its senior management to oversee the operations of the
Debtors through execution of any selected course of action;

       •       Advise and assist the Debtors’ management in preparation of financial
information that may be required by the Bankruptcy Court or the Debtors’ creditors and other
stakeholders, and in coordinating communications with the parties in interest and their respective
advisors;

        •      Advise on business plans, cash flow forecasts and financial projections;

       •       Advise and assist the Debtors’ and counsel in preparing for, meeting with and
presenting information to parties-in-interest and their respective advisors;

       •        Advise and assist the Debtors’ in the development of a plan of reorganization and
disclosure statement; and

       •      Provide other appropriate financial and investment banking advice as may be
required by Debtors from time to time.

                         DUFF & PHELPS’ DISINTERESTEDNESS

        5.     In connection with its proposed retention by the Debtors and in preparing this

Declaration, Duff & Phelps undertook to determine whether it had any conflicts or other

relationships that might cause it not to be disinterested or to hold or represent an interest adverse

to the Debtors. Specifically, Duff & Phelps researched its client database to determine whether it

has any relationship with the Debtors, their officers and directors, and all of their creditors (the




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“Parties-in-Interest”). Duff & Phelps obtained the names of the Parties-In-Interest from the

Debtors.

        6.     Duff & Phelps then researched its internal records to determine whether Duff &

Phelps has any connections with the Debtors and the Parties-in-Interest.

        7.     Duff & Phelps has completed a conflict check with the list of Parties-In-Interest.

It may be that other creditors or potential Parties-In-Interest may hereafter be identified. Should

that occur during the pendency of these Chapter 11 cases, Duff & Phelps will promptly

supplement the information set forth in this Declaration.

        8.     Based on the results of the conflict check, and to the best of my knowledge,

neither I nor Duff & Phelps have represented or had any connection with the Debtors, their

creditors, or any other person employed within the Office of the United States Trustee within the

meaning Bankruptcy Rule 2014, except as stated below.

                            PRIOR WORK FOR THE DEBTORS

        9.     As more fully outlined in the Application, prior to the Petition Date, Duff &

Phelps performed investment banking and financial advisory work for the Debtors and assisted

the Debtors in their preparation for the filing of this case. Duff & Phelps has assisted the

Debtors and their counsel in the preparation of the schedules and statement of financial affairs to

be filed by the Debtors and represented the Debtors in connection with the preparation and filing

of their respective bankruptcy petitions and related documents.

               DUFF & PHELPS’ CONNECTION WITH OTHER PARTIES

        10.    During the course of its conflict check, Duff & Phelps determined that it has

  connections with certain current and former clients who are creditors or potential creditors in

  the above Chapter 11 cases as identified in Exhibit 2. Duff & Phelps has verified that the work




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  performed on behalf of such current and/or former clients is unrelated to any of the work to be

  performed by Duff & Phelps in connection with these cases, and as such, Duff & Phelps does

  not by virtue of its connections with such clients and former clients hold or represent any

  interest adverse to the Debtors or their estates.

        11.     In addition to the foregoing client connections, Duff & Phelps has connections

with the following individuals or entities which may constitute “connections” within the meaning

of Bankruptcy Rule 2014:

                (a)     Taft Stettinius & Hollister LLP (formerly known as Briggs and Morgan,

        P.A.) (“Taft”) is the proposed counsel to the Debtors. Duff & Phelps has worked with

        Taft and has been adverse to Taft in connection with other bankruptcy cases.

        12.     Based upon my review of the disclosures as set forth above, I believe that Duff &

Phelps qualifies as a “disinterested person” for purpose of Section 101(14) of the Bankruptcy

Code. In that regard, Duff & Phelps, its directors, officers, and employees:

                (a)     are not creditors or insiders of the Debtors;

                (b)     are not, and were not, within two (2) years before the filing of the Debtors’

        Chapter 11 petitions, directors, officers or employees of the Debtors; and

                (c)     do not have an interest materially adverse to the interests of the estate or of

        any class of creditors, by reason of any direct or indirect relationship to, connection with,

        or interest in the Debtors, or for any other reason.

        13.     Based upon the same disclosures and analyses, I believe that Duff & Phelps does

not hold or represent an interest adverse to the Debtors’ estates.

        14.     There may be other persons within the scope of Bankruptcy Rule 2014 that,

unknown to me, Duff & Phelps has represented in particular matters in the past. Duff & Phelps




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agrees not to represent such persons or parties in interest in this case while representing the

Debtors, without further disclosure. Duff & Phelps will supplement its disclosures to the extent

additional connections as contemplated under Bankruptcy Rule 2014 may be discovered.

        15.    I do not know the identity of any attorneys or accountants who will appear in this

case as counsel for creditors or any other party in interest. When their appearances are made, the

firm will check their names against the firm’s conflicts database, and supplemental disclosures

will be made to the extent connections as contemplated under Rule 2014 may be discovered.

                             PROFESSIONAL COMPENSATION

        16.    Duff & Phelps has agreed to be compensated in accordance with the provisions

set forth in Section 330 of the Bankruptcy Code and will apply to the Court for allowance of

compensation and reimbursement of expenses in accordance with the applicable provisions of

the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, the Local Bankruptcy Rules,

this Court’s Instructions for Filing a Chapter 11 case and orders of this Court.

        17.    Prior to the commencement of the above-captioned cases, the Debtors paid Duff

& Phelps retainers in the aggregate amount of $691,957.00, in monthly installments of

$50,000.00 to act as the Debtors’ investment banker (the “Monthly Fees”), and hourly fees for

provided financial advisory services (the “Hourly Fees”), to compensate Duff & Phelps for all

work performed in connection with these Chapter 11 cases prior to the Petition Date. During

this prepetition period, in addition to general financial advice, Duff & Phelps provided

comprehensive advice and assistance to aid the Debtors’ efforts to restructure, including: (a)

identifying potential strategies to refinance, recapitalize or restructure existing indebtedness; (b)

assisting in negotiations with the Debtors’ secured lenders; (c) structuring and implementing a

solicitation and sale process; (d) managing liquidity needs and negotiating a senior, secured pre-

petition bridge loan and post-petition loan agreement; (e) gathering information and data


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needed to initiate a Chapter 11 case; (f) providing assistance in determining the Debtors’ needs

as of the date of filing and in the identification and preparation of first day motions and other

first day filings; (g) developing a budget to satisfy reporting requirements prior to and during

the bankruptcy cases.

        18.    Duff & Phelps applied $541,957.00 on account of prepetition work, leaving a

balance of $150,000.00. The Debtors have agreed that Duff & Phelps will hold the remaining

balance in trust for application against its final allowed fees, and the fees and expenses incurred

the day prior to the Petition Date which may not have been fully paid prior to filing.

        19.    Duff & Phelps intends to apply for compensation for financial advisory services

rendered on an hourly basis, and monthly fees for investment banking advisory services, and for

reimbursement of expenses Duff & Phelps incurs in these cases, subject to the Court’s approval

and in compliance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules,

the Local Rules and the orders of this Court. The hourly rates and rate structure that Duff &

Phelps will use in these Chapter 11 cases are the same as the hourly rates and rate structure that

Duff & Phelps uses in other complicated restructuring matters and in similarly complex

corporate and securities matters. The rates are based upon, among other things, the level and

sophistication of each professional’s experience, his or her area of specialization, the expertise,

performance and reputation, the size and complexity of the matter, and other factors.

        20.    Duff & Phelps’ current hourly rates for financial advisory services related to

these Chapter 11 cases range as follows:

                                  Billing                  Hourly Rate
                          Category
                          Managing Directors               $750.00
                          Directors                        $677.00
                          Vice Presidents                  $538.00
                          Associates                       $325.00
                          Analysts                         $285.00



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                          Administration                  $114.00


         Duff & Phelps’ hourly rates are designed to compensate Duff & Phelps fairly for the

work of its professionals. Hourly rates vary with experience and seniority. The Debtors believe

that Duff & Phelps’ rates are fair and reasonable.

         21.    In addition to the hourly fee paid for financial advisory services, Duff & Phelps

charges a monthly fee of $50,000.00 for its investment banking work with Debtors. This fee is

due in advance on the first business day of each month. Duff & Phelps will exclude hours spent

providing investment banking services from the hourly fees it charges for financial advisory

services.

         22.    If a Restructuring Transaction, Sale Transaction or Financing Transaction occurs

(as defined in the Engagement Letter), Debtors shall pay to Duff & Phelps a non-refundable

cash fee as follows:

       i.       Restructuring Transaction Fee: $1,250,000.00;

      ii.       Sale Transaction Fee: $1,250,000.00;

     iii.       Financing Transaction: a cash fee equal to the sum of: (i) 1.0% of the principal

amount of any secured debt raised, plus (ii) 3% of the principal amount of any unsecured or

mezzanine debt raised, plus (iii) 5% of the agreed value of any equity raised.

         23.    Although Duff & Phelps may arrange for more than one Sale Transaction or

Restructuring Transaction, or a combination of Restructuring Transaction or Sale Transaction,

Duff & Phelps understands that it is limited to a single $1,250,000 fee in connection with any

one or more Restructuring Transaction(s) or Sale Transaction(s) or any combination thereof.

         24.    Duff & Phelps’ policy is to charge clients for its reasonable and documented out-

of-pocket expenses incurred in connection with the client’s matter. Such expenses include



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                           EXHIBIT 1




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 PRIVILEGED AND CONFIDENTIAL
                                                                                  September 6, 2019
 Granite City Food & Brewery, Ltd.
 3600 American Boulevard West Suite 400
 Bloomington, MN 55431
 Attention: Richard H. Lynch, Chief Executive Officer



 Re: Granite City Food & Brewery, Ltd.

 Dear Richard:

 We are pleased to enter into this addendum (the “Addendum Agreement”) to the engagement letter
 between the Granite City Food & Brewery, Ltd. and its wholly and majority owned subsidiaries
 (collectively, the "Company") and Duff & Phelps Securities, LLC (“Duff & Phelps”) dated August 5,
 2019 (the “August Letter”), which provisions of the August Letter are incorporated herein and shall
 apply with respect to the additional Financial Advisory Services (herein defined) except as
 otherwise expressly set forth herein, and and capitalized words and expressions that are not
 otherwise defined herein shall bear the meaning attributed to them in the August Letter.


 1.       Engagement: In addition to the services detailed in the August Letter, Duff & Phelps is
 being retained to provide the following financial advisory services (the “Financial Advisory
 Services”) to the Company. Upon retention, Duff & Phelps will work at the reasonable request and
 direction of the Company and in conjunction with other advisors retained by the Company to:

 a.   Review, or prepare, a 13-week financial projection;

 b. Review and monitor the Company’s 13 week and longer term liquidity, including monitoring of
    the Company’s weekly cash flows and preparation of a weekly variance report comparing the
    Company’s actual to budgeted results;

 c.   Work with the Company and its senior management to identify and implement short-term and
      long-term liquidity generating initiatives (including but not limited to increasing revenue,
      controlling costs, and maximizing cash flow);

 d. Work with the Company and its senior management to oversee the operations of the Company
    through execution of any selected course of action; Advise and assist the Company’s
    management in its preparation of financial information that may be required by the Bankruptcy
    Court and/or the Company’s creditors and other stakeholders, and in coordinating
    communications with the parties in interest and their respective advisors;


  Duff & Phelps Securities, LLC   T   +1 310 689 0070   www.duffandphelps.com     Member: FINRA/SIPC
  11150 Santa Monica Boulevard    F   +1 310 689 0361
  Floor 6
  Los Angeles, CA 90025


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 e. Advise on and challenge management’s assumptions and amounts to be included in the
    Company’s business plans, cash flow forecasts and financial projections. Such business
    plans, cash flow forecasts and financial projections, including strategic content, specific action
    plans and related assumptions will be the responsibility of and be prepared by the management
    of the Company;

 f.    Advise and assist the Company’s management and Counsel in preparing for, meeting with and
       presenting information to parties-in-interest and their respective advisors;

 g. Advise and assist management in its development of the Company’s hypothetical liquidation
    analysis for purposes of its plan of reorganization, by advising on and challenging
    management’s assumptions and amounts to be included in the Company’s hypothetical
    liquidation analysis. Such hypothetical liquidation analysis including all assumptions, will be
    the responsibility of and be prepared by management of the Company; and

 h. Such other services as may be requested from time to time by the Company or its counsel.

 2.       Term of Agreement: This Addendum Agreement solely with respect to the Financial
 Advisory Services herein shall commence as of the effective date of this Addendum Agreement
 and shall continue until either the Company or Duff & Phelps gives written notice of termination to
 the other party. Upon any termination, the provisions of this Paragraph 2 and Paragraph 3 shall
 survive the termination of this Agreement to the extent such provisions relate to the payment of
 fees and expenses due or accrued on or before the effective date of termination. The provisions
 of Paragraphs 4 through 16 and Schedule I of the August Letter incorporated herein shall also
 survive the termination of this Agreement and shall remain in effect. The Company’s board of
 directors shall be deemed to have determined the services rendered under this Agreement to have
 been satisfactorily performed unless written, good faith notice of the contrary is delivered by the
 Company to Duff & Phelps by no later than the effective date of termination.

 3.       Fees and Expenses: The Company agrees that it shall be solely responsible for, and shall
 pay, the compensation and other amounts that are payable to Duff & Phelps hereunder and for
 certain other obligations specified herein (including without limitation the indemnification and other
 obligations in Schedule I). As consideration for the services rendered and to be rendered by Duff
 & Phelps, the Company agrees to pay Duff & Phelps the following non-refundable amounts with
 respect to the Financial Advisory Services herein:

 (a)      As consideration for the Financial Advisory Services to be rendered by Duff & Phelps under
          this Agreement, our fees will be based on the actual hours charged at the following hourly
          rates:

              Managing Directors                                                $750
              Directors                                                          677
              Vice Presidents                                                    538
              Associates                                                         325
              Analysts                                                           285
              Admin                                                              114




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 (b)     Expense Reimbursement: The Company shall reimburse Duff & Phelps for its reasonable
         and documented out-of-pocket expenses incurred in connection with the services (e.g.,
         travel, meals, lodging, etc.) to be provided under this Agreement and the preparation of
         this Agreement on the first day of each month. Out-of-pocket expenses shall include, but
         not be limited to, all reasonable travel expenses, pre-approved computer and research
         charges, reasonable attorney fees, messenger services and long-distance telephone calls
         incurred by Duff & Phelps in connection with the services to be provided.

 4.      Except as set forth in this Addendum Amendment, the August Letter is unaffected and
         shall continue in full force and effect in accordance with its terms. If there is conflict
         between this Addendum Agreement and the August Letter, the terms of this Addendum
         Amendment will prevail with respect to the Financial Advisory Services (and the August
         Letter shall continue to govern the original services set forth under August Letter).



              [Remainder of page intentionally left blank. Signature page follows.]




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  Vendor Master Download
             Company: 74
             Status      Hold     Vendor ID          D&P Client          Status       Vendor Name                     Address1                      Address2                       City           State   Zip     DBA
             Active               16749              Yes                 Active       COX COMMUNICATIONS INC          PO BOX 2742                                                  OMAHA          NE      68103-2742
                                                                                                                                                                                                                   COX BUSINESS
             Active               16348              Yes                 Inactive     ACE CASH EXPRESS INC            1231 GREENWAY DRIVE STE 600                                  IRVING         TX      75038
             Active               12086              Yes                 Active       ADVANCED DISPOSAL               PO BOX 74008053                                              CHICAGO        IL      60674-8053
             Active               11714              Yes                 Active       AIRGAS INC                      PO BOX 734445                                                CHICAGO        IL      60673-4445
                                                                                                                                                                                                                   AIRGAS USA
             Active               14443              Yes                 Active       AIRGAS INC                      PO BOX 734445                                                CHICAGO        IL      60673-4445
                                                                                                                                                                                                                   AIRGAS USA
             Active               11768              Yes                 Active       ALLY                            PO BOX 78234                                                 PHOENIX        AZ      85062-8234
             Active               07674              Yes                 Inactive     AMEREN ILLINOIS                 PO BOX 88034                                                 CHICAGO        IL      60680-1034
             Active               16224              Yes                 Active       AMERICAN CANCER SOCIETY         20450 CIVIC CENTER DRIVE                                     SOUTHFIELD     MI      48016
             Active               12783              Yes                 Active       AMERICAN CANCER SOCIETY IN      5635 W 96TH ST                SUITE 100                      INDIANAPOLIS   IN      46278
             Active               12630              Yes                 Active       AMERICAN CANCER SOCIETY CANCERACTION NETWORK INC              555 11TH ST STE 300            WASHINGTON     DC      20004
             Active               17020              Yes                 Active       AMERICAN CANCER SOCIETY INC     740 COMMERCE DRIVE STE B                                     PERRYSBURG     OH      43551
             Active               18173              Yes                 Active       AMERICAN CANCER SOCIETY INC     250 WILLIAMS ST STE 4B                                       ATLANTA        GA      30303
             Active               10602              Yes                 Active       AMERICAN CANCER SOCIETY INC     4234 N KNOXVILLE AVE                                         PEONA          IL      61614
             Active               13135              Yes                 Active       AMERICAN CANCER SOCIETY INC     250 WILLIAMS ST               NW SUITE 400                   ATLANTA        GA      30303-1002
             Active               14079              Yes                 Active       AMERICAN CANCER SOCIETY INC     9541 LONGWELL DR                                             INDAINAPOLIS   IN      46240
             Active               16767              Yes                 Active       AMERICAN CANCER SOCIETY INC     1801 MEYERS ROAD STE 100                                     OAKBROOK TERRACE
                                                                                                                                                                                                 IL       60181
             Active               15009              Yes                 Active       AMERICAN CANCER SOCIETY PINK    HEAT                          7500 GREENWAY CTR DR STE 300   GREENBELT      MO      20770
             Active               07919              Yes                 Former       AMERICAN COMPRESSED GASES INC PO BOX 715                                                     WESTWOOD       NJ      07675-0715
             Active               13636              Yes                 Former       AMERICAN DIABETES ASSOC LG      1701 N BEAUREGARD ST                                         ALEXANDRIA     VA      22311
             Active               12694              Yes                 Former       AMERICAN DIABETES ASSOCIATION   INDIANA                       8604 ALLISONVILLE RD STE 140   INDIANAPOLIS   IN      46250
             Active               14303              Yes                 Former       AMERICAN DIABETES ASSOCIATION   317 7TH AVE STE 202B                                         CEDAR RAPIDS   IA      52402
             Active               15397              Yes                 Active       AMERICAN RED CROSS              ST LOUIS AREA CHAPTER         10195 CORPORATE SQUARE DRIVE   ST LOUIS       MO      63132
             Active               10102              Yes                 Active       APPLE INC                       PO BOX 846095                                                DALLAS         TX      75284-6095
             Active               13769              Yes                 Former       ARROWEYE SOLUTIONS INC          549 W RANDOLPH ST             SUITE 200                      CHICAGO        IL      60661
             Active               07523              Yes                 Active       AT&T                            PO BOX 105068                                                ATLANTA        GA      30348-5068
             Active               07610              Yes                 Active       AT&T                            PO BOX 5080                                                  CAROL STREAM   IL      60197-5080
             Active               11133              Yes                 Active       AT&T                            PO BOX 105262                                                ATLANTA        GA      30348-5262
             Active               13626              Yes                 Active       AT&T                            PO BOX 5014                                                  CAROL STREAM   IL      60197-5014
             Active               07704              Yes                 Inactive     AT&T MOBILITY CORP (3057)       PO BOX 6463                                                  CAROL STREAM   IL      60197-6463
             Active               04246              Yes                 Active       ATMOS ENERGY                    PO BOX 790311                                                ST. LOUIS      MO      63179-0311
             Active               15339              Yes                 Active       AWC INC                         2719 ROSEHALL LANE                                           AURORA         IL      60503
             Active               16451              Yes                 Active       BAKER ELECTRIC INC              111 JACKSON AVE                                              DES MOINES     IA      50315
             Active               16119              Yes                 Former       BEAUMONT HEALTH                 2000 TOWN CENTER STE 1200                                    SOUTHFIELD     MI      48075
             Active               01006              Yes                 Active       BLUE CROSS BLUE SHIELD          PO BOX 64676                                                 ST. PAUL       MN      55164-0676
             Active               15020              Yes                 Active       BREAKTHRU BEVERAGE ILLINOIS     LLC                                                          X              X       X
             Active               11558              Yes                 Active       BREAKTHRU BEVERAGE MD           X                                                            X              X       X
             Active               15022              Yes                 Active       BREAKTHRU BEVERAGE MINNESOTA WINE & SPIRITS LLC                                              X              X       X
             Active               15023              Yes                 Active       BREAKTHRU BEVERAGE MINNESOTA BEER LLC                                                        X              X       X
             Active               15021              Yes                 Active       BREAKTHRU BEVERAGE WISCONSIN METRO MILWAUKEE LLC              PO BOX 78465                   MILWAUKEE      WI      53278
             Active               12310              Yes                 Active       BRINKS INCORPORATED             7373 SOLUTIONS CENTER                                        CHICAGO        IL      60677-7003
             Active               16356              Yes                 Former       CABLE ONE INC                   PO BOX 78000                                                 PHOENIX        AZ      85062-8000



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Active               15692              Yes                 Active       CARGILL INCORPORATED            15407 MCGINTY RD W                                                WAYZATA         MN   55391
Active               12996              Yes                 Active       CBRE INC                        2415 E CAMELBACK ROAD                                             PHOENIX         AZ   85016
Active               14094              Yes                 Inactive     CBS BROADCASTING INC            22985 NETWORK PLACE                                               CHICAGO         IL   60673     KDKA TV
Active               13619              Yes                 Former       CBS OUTDOOR LLC                 PO BOX 33074                                                      NEWARK          NJ   07188
Active               18236              Yes                 Active       CDW LLC                         200 N MILWAUKEE AVE                                               VERNON HILLS    IL   60061     CDW DIRECT
Active               03420              Yes                 Former       CENTERPOINT ENERGY              PO BOX 4671                                                       HOUSTON         TX   77210-4671
Active               03377              Yes                 Active       CENTURYLINK                     PO BOX 52187                                                      PHOENIX         AZ   85072-2187
Active               03379              Yes                 Active       CENTURYLINK                     PO BOX 2956                                                       PHOENIX         AZ   85062-2956
Active               09556              Yes                 Active       CENTURYLINK                     PO BOX 2961                                                       PHOENIX         AZ   85062-2961
Active               09569              Yes                 Active       CENTURYLINK                     PO BOX 4300                                                       CAROL STREAM    IL   60197-4300
Active               16770              Yes                 Active       CHARTER COMMUINICATIONS HOLDINGS
                                                                                                       PO LLC
                                                                                                          BOX 3019                                                         MILWAUKEE       WI   53201-3019
Active               16533              Yes                 Active       CHARTER COMMUNICATIONS HOLDINGS
                                                                                                      POLLC
                                                                                                         BOX 790086                                                        SAINT LOUIS     MO   63179-0086
Active               17249              Yes                 Active       CITRIX SYSTEMS INC              851 WEST CYPRESS CREEK RD                                         FORT LAUDERDALEFL    33309
Active               17671              Yes                 Inactive     CITY OF CARMEL                  ONE CIVIC SQUARE                                                  CARMEL          IN   46032     CARMEL CLAY PARKS AND RECREATION
Active               17653              Yes                 Inactive     CITY OF DAVENPORT               226 W 4TH ST                                                      DAVENPORT       IA   52801
Active               01061              Yes                 Inactive     CITY OF DAVENPORT               PO BOX 8003                                                       DAVENPORT       IA   52808-1345
Active               11849              Yes                 Active       CITY OF FRANKLIN                PO BOX 705                       109 3RD AVE S                    FRANKLIN        TN   37065
Active               15723              Yes                 Former       CITY OF INDIANAPOLIS            2260 CITY COUNTY BUILDING        200 E WASHINGTON STREET          INDIANAPOLIS    IN   46204
Active               16905              Yes                 Inactive     CITY OF MADISON                 210 MARTIN LUTHER KING JR BLVD                                    MADISON         WI   53703
Active               MT283              Yes                 Former       CITY OF PARKERSBURG             PO BOX 1627                                                       PARKERSBURG     WV   00002-6102
Active               MT029              Yes                 Former       CITY OF PHILADELPHIA            PO BOX 8040                                                       PHILADELPHIA    PA   19105-8040
Active               MT210              Yes                 Active       CITY OF SAINT MARY'S            DEPARTMENT OF TAXATION           106 E SPRING STREET              SAINT MARY'S    OH   45885-0
Active               MT292              Yes                 Former       CITY OF SPRINGFIELD             PO BOX 5200                                                       SPRINGFIELD     OH   45501-5200
Active               03894              Yes                 Active       CITY OF WICHITA                 455 N MAIN ST                                                     WICHITA         KS   67202
Active               MT116              Yes                 Inactive     CITY OF WILMINGTON              LOUIS L. REDDING CITY/COUNTY     800 FRENCH STREET, 6TH FLOOR     WILMINGTON      DE   19801-3537
Active               12940              Yes                 Active       CLEAR CHANNEL OUTDOOR INC       PO BOX 591790                                                     SAN ANTONIO     TX   78258
Active               12131              Yes                 Active       COCACOLA NATIONAL               PO BOX 102703                                                     ATLANTA         GA   30368
Active               12327              Yes                 Active       COCACOLA BOTTLING CO            PO BOX 602937                                                     CHARLOTTE       NC   28250
Active               12178              Yes                 Active       COCACOLA REFRESHMENTS IN        PO BOX 602937                                                     CHARLOTTE       NC   28260
Active               21432              Yes                 Active       COMCAST                         PO BOX 37601                                                      PHILADELPHIA    PA   19101-0601
Active               04756              Yes                 Active       COMCAST CORPORATE               PO BOX 3001                                                       SOUTHEASTERN    PA   19398-3001
Active               13610              Yes                 Active       COMCAST MAPLE GROVE             PO BOX 34744                                                      SEATTLE         WA   98124-1744
Active               04007              Yes                 Active       COMCAST CABLE                   PO BOX 7500                                                       SOUTHEASTERN    PA   19398-7500
Active               17043              Yes                 Active       COMCAST CORPORATION             PO BOX 17211                                                      CHARLOTTE       NC   28272
Active               13940              Yes                 Active       COMCAST HOLDINGS CORPORATION PO BOX 35170                                                         SEATTLE         WA   98124-5170
Active               09291              Yes                 Former       COMDATA INC                     PO BOX 500544                                                     ST LOUIS        MO   63150-0544
Active               07393              Yes                 Inactive     COMED                           PO BOX 6111                                                       CAROL STREAM    IL   60197-6111
Active               16091              Yes                 Active       COMMUNITY HEALTH NETWORK        FOUNDATION INC                   7240 SHADELAND STATION STE 125   INDIANAPOLIS    IN   46256
Active               09761              Yes                 Inactive     CONSOLIDATED HIGH SCHOOL DIST #230
                                                                                                        13300 S LAGRANGE ROAD                                              ORLAND PARK     IL   60462     CARL SANDBURG HIGH SC
Active               15959              Yes                 Inactive     CONSTELLATION NEWENERGY GAS DV15246 COLLECTIONS CENTER DRIVE C/O BANK OF AMERICA LOCKBOX SV CHICAGO               IL   60693-0152
Active               13678              Yes                 Inactive     CONSTELLATION NEWENERGY INC     PO BOX 4640                                                       CAROL STREAM    IL   60197-4640
Active               03814              Yes                 Active       COX COMMUNICATIONS              PO BOX 248871                                                     OKLAHOMA CITY   OK   73124-8871
Active               G1177              Yes                 Inactive     CREDIT ACCEPTANCE CORPORATION 30665 NORTHWESTERN HWY #202                                         FARMINGTON HILLSMI   48334
Active               03303              Yes                 Inactive     DARLING INGREDIENTS INC         PO BOX 552210                                                     DETROIT         MI   48255-2210
Active               16234              Yes                 Inactive     DARLING INGREDIENTS INC         PO BOX 552210                                                     DETROIT         MI   48255     DAR PRO


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Active               15948              Yes                 Inactive     DETROIT AREA AGENCY ON AGING     1333 BREWERY PK BLVD STE 200                                 DETROIT         MI   48207
Active               01342              Yes                 Former       DIRECTV                          PO BOX 105249                                                ATLANTA         GA   30348-5249
Active               15677              Yes                 Former       DIRECTV LLC                      PO BOX 5006                                                  CAROL STREAM    IL   60197-5006
Active               20007              Yes                 Inactive     DISCOVERY BENEFITS INC           PO BOX 9528                                                  FARGO           ND   58106-9528
Active               11519              Yes                 Active       DTE ENERGY                       PO BOX 740786                                                CINCINNATI      OH   45274-0786
Active               13942              Yes                 Active       ECOLAB INC                       26397 NETWORK PLACE                                          CHICAGO         IL   60673-1263
                                                                                                                                                                                                     ECOSURE
Active               03666              Yes                 Active       ECOLAB INC                       PO BOX 70343                                                 CHICAGO         IL   60673-0343
Active               13873              Yes                 Inactive     EDGEWOOD COLLEGE INC             1000 EDGEWOOD COLLEGE DR                                     MADISON         WI   53711
Active               13533              Yes                 Former       EMR                              9100 YELLOW BRICK RD           SUITE H                       ROSEDALE        MD   21237
Active               16890              Yes                 Active       EXELON CORPORATION               PO BOX 5473                                                  CAROL STREAM    IL   60197-5473
                                                                                                                                                                                                     CONSTELLATION NEWENERGY GAS DIVISION
Active               09021              Yes                 Former       FARMER BROTHERS COMPANY INC      PO BOX 732855                                                DALLAS          TX   75373-2855
Active               01506              Yes                 Active       FEDERAL EXPRESS                  PO BOX 94515                                                 PALATINE        IL   60094-4515
Active               10009              Yes                 Active       FEDERAL EXPRESS INC              INFOSYNC ACCOUNT               XXXXX                         XXXXX           X    X
Active               10009              Yes                 Active       FEDERAL EXPRESS INC              INFOSYNC ACCOUNT               XXXXX                         XXXXX           X    X
Active               14187              Yes                 Active       FEDEX                            PO BOX 371461                                                PITTSBURGH      PA   15250-7461
Active               16442              Yes                 Active       FIDELITY NATIONAL TITLE          INSURANCE COMPANY INC          ONE EAST WASHINGTON ST STE 450 PHOENIX        AZ   85004
Active               11307              Yes                 Former       FIFTH THIRD BANK                 X                                                            X               X    X
Active               03721              Yes                 Active       FISHER SCIENTIFIC                13551 COLLECIONS CTR DR        ACCT 952446-001               CHICAGO         IL   60693
Active               11123              Yes                 Active       FLORIDA POWER AND LIGHT          GENERAL MAIL FACILITY                                        MIAMI           FL   33188-0001
Active               11750              Yes                 Former       FOULSTON SIEFKIN LLP             1551 N WATERFRONT PARKWAY      SUITE 100                     WICHITA         KS   67206-4466
Active               10032              Yes                 Active       FRONTIER                         PO BOX 740407                                                CINCINNATI      OH   45274-0407
Active               14115              Yes                 Active       GRAINGER INC                     DEPT 875813388                                               PALATINE        IL   60038-0001
Active               16968              Yes                 Inactive     GREAT LAKES WATER AUTHORITY      PO BOX 441370                  ATTN TREASURY                 DETROIT         MI   48224-1370
Active               13370              Yes                 Inactive     HABITAT FOR HUMANITY             OF OAKLAND CNTY                150 OSMUN STREET              PONTIAC         MI   48342
Active               15392              Yes                 Inactive     HABITAT FOR HUMANITY             8380 COLESVILLE ROAD           SUITE 700                     SILVER SPRING   MD   20910
Active               15938              Yes                 Inactive     HABITAT FOR HUMANITY             144 N ANTELOPE VALLEY PKWY                                   LINCOLN         NE   68503-3601
Active               02114              Yes                 Inactive     HARLEYSVILLE INSURANCE CO        FLOOD INSURANCE PROCESSING CTRPO BOX 731178                  DALLAS          TX   75373-1178
Active               11652              Yes                 Active       HDR INC                          8404 INDIAN HILLS DRIVE                                      OMAHA           NE   68114
Active               18302              Yes                 Former       HEARTLAND INC                    8137 SANTA FE DR                                             OVERLAND PARK KS     66204   L ARCHE HEARTLAND
Active               10339              Yes                 Active       HOTSCHEDULESCOM INC              PO BOX 848472                                                DALLAS          TX   75284
Active               18327              Yes                 Active       HY VEE INC                       2200 W KIMBERLY RD                                           DAVENPORT       IA   52806
Active               11140              Yes                 Active       INCOMM                           PO BOX 935359                                                ATLANTA         GA   31193
Active               15934              Yes                 Active       INDIANA UNIVERSITY               400 E 7TH STREET               POPLARS RM 501                BLOOMINGTON     IN   47405
Active               10635              Yes                 Active       INFOR                            NW 7418                        PO BOX 1450                   MINNEAPOLIS     MN   55485-7418
Active               G1239              Yes                 Active       INTERNAL REVENUE SERVICE         PO BOX 802501                                                CINCINNATI      OH   45280
Active               16016              Yes                 Active       INTERNAL REVENUE SERVICE         X                                                            CINCINNATI      OH   45999-0039
Active               G1051              Yes                 Active       INTERNAL REVENUE SERVICE         LEVY PROCESSING                                              CINCINNATI      OH   45999-0039
Active               12384              Yes                 Active       JJ KELLER AND ASSOCIATES INC     PO BOX 6609                                                  CAROL STREAM    IL   60197-6609
Active               11857              Yes                 Active       KATTEN MUCHIN ROSENMAN LLP       525 W MONROE ST                                              CHICAGO         IL   60661-3693
Active               16399              Yes                 Former       KIRKWOOD COMMUNITY COLLEGE       FOUNDATION                     6301 KIRKWOOD BLVD SW         CEDAR RAPIDS    IA   52404
Active               15812              Yes                 Inactive     KIWANIS INTERNATIONAL INC        5929 S 78TH ST                                               LINCOLN         NE   68516   SOUTHEAST KIWANIS OF LINCOLN
Active               15962              Yes                 Inactive     KIWANIS INTERNATIONAL INC        PO BOX 133                                                   ANGOLA          IN   46703   THE KIWANIS CLB OF LAKE ANGOLA
Active               15626              Yes                 Active       KONICA MINOLTA BUSINESS SOLUTIONS
                                                                                                        21146
                                                                                                           USANETWORK
                                                                                                               INC    PLACE                                            CHICAGO         IL   60673-1211
Active               16928              Yes                 Active       KONICA MINOLTA BUSINESS SOLUTIONS
                                                                                                        DEPT
                                                                                                           USA
                                                                                                             CHINC
                                                                                                                 19188                                                 PALATINE        IL   60055-9188
Active               14603              Yes                 Active       KUTAK ROCK LLP                   1650 FARNAM STREET                                           OMAHA           NE   68102


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Active               15092              Yes                 Former       L AND W SUPPLY CORP              2800 FOSTER AVE                                                  NASHVILLE       TN   37210   ALL INTERIOR SUPPLY
Active               08248              Yes                 Inactive     LACLEDE GAS CO                   DRAWER 2                                                         ST. LOUIS       MO   63171
Active               13096              Yes                 Former       LEUKEMIA& LYMPHOMA SOCIETY       333 EAST CARSON ST SUITE 441                                     PITTSBURGH      PA   15219
Active               16953              Yes                 Former       LINCOLN INTERNATIONAL LP         500 WEST MADISON STREET          SUITE 1900                      CHICAGO         IL   60661   LINCOLN PARTNERS ADVISORS
Active               16381              Yes                 Active       LITTLER MENDELSON PC             2301 MCGEE ST, 8TH FLOOR         ATTN TREASURY                   KANSAS CITY     MO   94145-6410
Active               16462              Yes                 Active       LOCKTON COMPANIES LLC            PO BOX 802707                                                    KANSAS CITY     KS   64180-2707
Active               17725              Yes                 Former       LOVES TRAVEL STOPS AND COUNTRY10601
                                                                                                       STORESNORTH
                                                                                                               INC PENNSYLVANIA                                            OKLAHOMA CITY   OK   73120
Active               04972              Yes                 Inactive     MADISON GAS AND ELECTRIC         PO BOX 1231                                                      MADISON         WI   53701-1231
Active               14428              Yes                 Former       MARCO INC                        PO BOX 660831                                                    DALLAS          TX   75266
Active               14009              Yes                 Active       MCGLADREY LLP                    5155 PAYSPHERE CIRCLE                                            CHICAGO         IL   60674
Active               16948              Yes                 Former       MELTZER PURTILL AND STELLE LLC   1515 E WOODFIELD RD              2ND FLR                         SCHAUMBURG      IL   60173
Active               13878              Yes                 Active       METROPOLITAN LIFE INSURANCE CO DEPT CH 10579                                                      PALATINE        IL   60055-0579
Active               16346              Yes                 Active       MINNESOTA STATE COLLEGES         ST CLOUD TECHNICAL & COMM COL    30 7TH STREET EAST STE 350      ST PAUL         MN   55101
Active               15822              Yes                 Active       MINNESOTA STATE COLLEGES AND     UNIVERSITIES                     30 7TH STREET EAST STE 350      ST PAUL         MN   55101
Active               16858              Yes                 Former       MUSEUM OF SCIENCE AND INDUSTRY 5700 SOUTH LAKE SHORE DRIVE                                        CHICAGO         IL   60637
Active               13959              Yes                 Inactive     NAPERVILLE COMMUNITY UNIT        SCHOOL DISTRICT 203              203 W HILLSIDE RD               NAPERVILLE      IL   60540
Active               16771              Yes                 Inactive     NATIONAL SAFETY COUNCIL INC      1121 SPRING LAKE DRIVE           PO BOX 558                      ITASCA          IL   60143
Active               03496              Yes                 Former       NCR CORP                         PO BOX 198755                                                    ATLANTA         GA   30384-8755
Active               15576              Yes                 Inactive     NEBRASKA METHODIST               HOSPITAL FOUNDATION              8511 W DODGE ROAD               OMAHA           NE   68114
Active               12253              Yes                 Former       NORA& TANZILLO LLP               DEPT 20 5018 PO BOX 5988                                         CAROL STREAM    IL   60197-5988
Active               14074              Yes                 Former       NORTHVILLE TOWNSHIP              215 W MAIN STREET                                                NORTHVILLE      MI   48167
Active               14438              Yes                 Former       NORTHVILLE TOWNSHIP              WATER AND SEWER DEPARTMENT       PO BOX 674268                   DETROIT         MI   48267-4268
Active               16527              Yes                 Former       NORTHVILLE TOWNSHIP              MARJORIE BANNER TREASURER        PO BOX 674316                   DETROIT         MI   48267-4316
Active               03525              Yes                 Former       NUCO2 INC                        PO BOX 417902                                                    BOSTON          MA   02241-7902
                                                                                                                                                                                                         NUCO2
Active               16710              Yes                 Former       OGLETREE DEAKINS NASH SMOAK AND
                                                                                                       POSTEWART
                                                                                                          BOX 89 PC                                                        COLUMBIA        SC   29202
Active               13773              Yes                 Former       OPENTABLE INC                    29109 NETWORK PLACE                                              CHICAGO         IL   60673-1291
Active               16484              Yes                 Former       OPTIV SECURITY INC               PO BOX 28216 NETWORK PLACE                                       CHICAGO         IL   60673-1282
Active               17576              Yes                 Active       ORACLE AMERICA INC               15612 COLLECTIONS CENTER DRIVE                                   CHICAGO         IL   60693
Active               04327              Yes                 Inactive     ORANGE TREE EMPLOYMENT           SCREENING                        PO BOX 9202                     MINNEAPOLIS     MN   55480
Active               17733              Yes                 Active       OSF HEALTHCARE SYSTEM            7800 N SOMMER ST STE 508                                         PEORIA          IL   61615   HEALTHCARE SAINT FRANCIS MEDICAL CENT
Active               13999              Yes                 Active       OUTFRONT MEDIA INC               PO BOX 33074                                                     NEWARK          NJ   07188
Active               11416              Yes                 Active       PACIFIC LIFE                     PO BOX 2030                                                      OMAHA           NE   68103
Active               13852              Yes                 Active       PACIFIC LIFE INS CO ACH          X                                                                X               X    X
Active               13395              Yes                 Active       PADDOCK PUBLICATIONS INC         PO BOX 3204                                                      ARLINGTON HEIGHTS
                                                                                                                                                                                          IL    60006   THE DAILY HERALD
Active               14495              Yes                 Former       PEOPLES                          PO BOX 644760                                                    PITTSBURGH      PA   15264-4760
Active               11096              Yes                 Inactive     PEPCO                            PO BOX 13608                                                     PHILADELPHIA    PA   19101-3608
Active               10860              Yes                 Active       PEPSI COLA INC                   PO BOX 75948                                                     CHICAGO         IL   60675
Active               17018              Yes                 Former       PHYSICIANS IMMEDIATE CARE LTD    PO BOX 8798                                                      CAROL STREAM    IL   60197-8798
Active               14621              Yes                 Active       PILOT TRAVEL CENTERS LLC         PO BOX 11407                                                     BIRMINGHAM      AL   35246-1314
Active               10763              Yes                 Inactive     PLAYNETWORK INC                  PO BOX 21550                                                     NEW YORK        NY   10087-1550
Active               15271              Yes                 Inactive     PLEXUS COMPANY INC               PO BOX 2925                                                      FARGO           ND   58108-2925
                                                                                                                                                                                                         CULINEX
Active               06775              Yes                 Former       PRAXAIR DISTRIBUTION INC         DEPT CH 10660                                                    PALATINE        IL   60055-0660
Active               01416              Yes                 Former       REPUBLIC SERVICES                PO BOX 9001154                                                   LOUISVILLE      KY   40290-1154
Active               08040              Yes                 Former       REPUBLIC SERVICES                PO BOX 9001099                                                   LOUISVILLE      KY   40290-1099
Active               12576              Yes                 Former       RESTORATION HARDWARE             FILE 50081- GROUND LEVEL         1000 W TEMPLE ST                LOS ANGELES     CA   90012


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Active               17774              Yes                 Former       RIGHT MANAGEMENT INC             24677 NETWORK PLACE                                             CHICAGO         IL   60673
Active               04381              Yes                 Former       ROBERT HALF INTERNATIONAL INC    PO BOX 743295                                                   LOS ANGELES     CA   90074-3295
                                                                                                                                                                                                        ACCOUNTEMPS
Active               14594              Yes                 Active       RUSH UNIVERSITY MEDICAL CENTER 1653 CONGRESS PARKWAY                                             CHICAGO         IL   60612
Active               04810              Yes                 Former       SIGMA ALDRICH INC                PO BOX 535182                                                   ATLANTA         GA   30353-5182
Active               03286              Yes                 Active       SIMPLEX                          DEPT CH 10320                                                   PALATINE        IL   60055-0320
Active               14233              Yes                 Former       SP PLUS CORPORATION              150 POTOMAC PASSAGE                                             OXON HILL       MD   20745
Active               15177              Yes                 Former       ST JUDE CHILDRENS RESEARCH       HOSPITAL                        501 ST JUDE PLACE               MEMPHIS         TN   38105
Active               01141              Yes                 Former       STAR TRIBUNE                     PO BOX 790387                                                   ST. LOUIS       MO   63179-0387
Active               14348              Yes                 Inactive     STATE INDUSTRIAL PRODUCTS CORP PO BOX 74188                                                      CLEVELAND       OH   44194-0268
                                                                                                                                                                                                        NEUTRON INDUSTRIES
Active               17275              Yes                 Former       STATE OF MICHIGAN                PO BOX 30401                                                    LANSING         MI   48909-7901
Active               MT012              Yes                 Former       STATE OF MICHIGAN                MICHIGAN DEPT. OF TREASURY      DEPARTMENT 77003                DETROIT         MI   48277-3
Active               07062              Yes                 Former       STATE OF MICHIGAN                PO BOX 30255                                                    LANSING         MI   48909
Active               10881              Yes                 Active       STORE CAPITAL CORPORATION        8377 EAST HARDFORD DR STE 100                                   SCOTTSDALE      AZ   85255     STORE CAPITAL ACQUSITIONS
Active               03765              Yes                 Former       SUMMIT FIRE PROTECTION           PO BOX 6205                                                     CAROL STREAM    IL   60197-6205
Active               13879              Yes                 Active       SUN LIFE FINANCIAL               PO BOX 7247-7184                                                PHILADELPHIA    PA   19170-7184
Active               15394              Yes                 Former       THE LEUKEMIA AND LYMPHOMA SOC 12100 W CENTER ROAD                BUILDING 1 SUITE 202            OMAHA           NE   68144
Active               18313              Yes                 Former       THE LEUKEMIA AND LYMPHOMA SOCIETY
                                                                                                        3 INTERNATIONAL
                                                                                                            INC         DR STE 200                                        RYE BROOK       NY   10573
Active               13010              Yes                 Former       THE LEUKEMIA& LYMPHOMA           SOCIETY WHITE PLAINS            1311 MAMARONECK AVENUE          WHITE PLAINS    NY   10605-5221
Active               13088              Yes                 Former       THE LEUKEMIA& LYMPHOMA           SOCIETY CR                      2700 WESTOWN PKWY STE 260       WEST DES MOINESIA    50266
Active               03289              Yes                 Inactive     TIME WARNER CABLE                PO BOX 60074                                                    CITY OF INDUSTRYCA   91716-0074
Active               04235              Yes                 Inactive     TIME WARNER CABLE ZR             PO BOX 1104                                                     CAROL STREAM    IL   60132-1104
Active               16846              Yes                 Inactive     TIME WARNER CABLE LLC            BOX 223085                                                      PITTSBURGH      PA   15251-2085
Active               08846              Yes                 Former       TRANE US INC                     PO BOX 98167                                                    CHICAGO         IL   60693
Active               16885              Yes                 Active       TRIBUNE PUBLISHING COMPANY LLC 14839 COLLECTIONS CENTER DR                                       CHICAGO         IL   60693-0148
                                                                                                                                                                                                        CHICAGO TRIBUNE COMPANY
Active               03294              Yes                 Former       TYCO INTEGRATED SECURITY         PO BOX 371967                                                   PITTSBURGH      PA   15250-7967
Active               08613              Yes                 Inactive     UHAUL                            PO BOX 52128                                                    PHOENIX         AZ   85072-2128
Active               04106              Yes                 Former       ULINE INC                        PO BOX 88741                    ATTN ACCOUNTS RECEIVABLE        CHICAGO         IL   60680-1741
Active               10014              Yes                 Former       UNITED STATES POSTAL SERVICE     CORPORATE HILLS STATION         9350 CORPORATE HILLS DR         WICHITA         KS   67207-9997
Active               10018              Yes                 Former       UNITED STATES POSTAL SERVICE     INFOSYNC POC ACCOUNT#6679636                                    X               X    X
Active               MT247              Yes                 Former       UPPER MORELAND TOWNSHIP          BUSINESS TAX OFFICE             117 PARK AVENUE                 WILLOW GROVE    PA   19090-0
Active               11648              Yes                 Active       US BANK OEFS                     PO BOX 790448                                                   ST. LOUIS       MO   63179
Active               08066              Yes                 Former       US YELLOW PAGES                  PO BOX 48098                                                    JACKSONVILLE    FL   32247-8098
Active               12808              Yes                 Former       V3 COMPANIES                     7325 JANES AVENUE               SUITE 100                       WOODRIDGE       IL   60517
Active               15550              Yes                 Inactive     VAN METER INC                    850 32ND AVENUE SW                                              CEDAR RAPIDS    IA   52404-3913
Active               18360              Yes                 Inactive     VANDERBILT UNIVERSITY MEDICAL CENTER
                                                                                                         1161 21ST
                                                                                                               INC AVE S                  D-3300 MEDICAL CENTER NORTH     NASHVILLE       TN   37232-5445
Active               16517              Yes                 Active       VERIZON                          PO BOX 4830                                                     TRENTON         NJ   08650-4830
Active               01093              Yes                 Active       VERIZON WIRELESS                 PO BOX 25505                                                    LEHIGH VALLEY   PA   18002-5505
Active               11085              Yes                 Active       VERIZON WIRELESS                 PO BOX 660720                                                   DALLAS          TX   75266-0720
Active               11740              Yes                 Active       VERIZON WIRELESS                 PO BOX 15124                                                    ALBANY          NY   12212-5124
Active               11097              Yes                 Active       WASHINGTON GAS                   PO BOX 37747                                                    PHILADELPHIA    PA   19101-5047
Active               03037              Yes                 Active       WASTE MANAGEMENT                 PO BOX 4648                                                     CAROL STREAM    IL   60197-4648
Active               11098              Yes                 Active       WASTE MANAGEMENT                 PO BOX 13648                                                    PHILADELPHIA    PA   19101-3648
Active               13928              Yes                 Active       WEDDINGWIRE INC                  2 WISCONSIN CIR 3RD FLOOR                                       CHEVY CHASE     MD   20815
Active               16044              Yes                 Former       WEINGARTEN REALTY INVESTORS      PO BOX 301074                                                   DALLAS          TX   75303
Active               03550              Yes                 Active       WELLS FARGO BANK                 WF 8113                         PO BOX 1450                     MINNEAPOLIS     MN   55485-8113


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Active               15068              Yes                 Former     WEST SIDE MONTESSORI           7115 BANCROFT                                      TOLEDO        OH   43615
Active               14598              Yes                 Former     WILLIAMS CLEANERS INC          2541 N 48TH STREET                                 LINCOLN       NE   68504-3630
Active               03235              Yes                 Active     WINDSTREAM                     PO BOX 9001908                                     LOUISVILLE    KY   40290-1908
Active               08024              Yes                 Active     WINDSTREAM                     PO BOX 3243                                        MILWAUKEE     WI   53201-3243
Active               06942              Yes                 Former     WSI                            1600 EAST CENTURY AVENUE   SUITE 1                 BISMARCK      ND   58506-5585
Active               14057              Yes                 Active     WW GRAINGER INC                DEPT 874872476                                     PALATINE      IL   60038-0001
                                                                                                                                                                                     GRAINGER
Active               14608              Yes                 Active     WW GRAINGER INC                DEPT 886242085                                     PALATINE      IL   60038-0001
                                                                                                                                                                                     GRAINGER
Active               11255              Yes                 Active     WW GRAINGER INC                DEPT 868809880                                     PALATINE      IL   60038-0001
Active               14210              Yes                 Active     WW GRAINGER INC                DEPT 886000497                                     PALATINE      IL   60038-0001
Active               14753              Yes                 Active     WW GRAINGER INC                DEPT 886260890                                     PALATINE      IL   60038-0001
Active               14754              Yes                 Active     WW GRAINGER INC                DEPT 871489555                                     PALATINE      IL   60038-0001
Active               03000              Yes                 Active     XCEL ENERGY                    PO BOX 9477                                        MINNEAPOLIS   MN   55484-9477
Active               18271              Yes                 Active     XO GROUP INC                   195 BROADWAY                                       NEW YORK      NY   10007   WEDDING PAGES
Active               14214              Yes                 Former     YRC INC                        PO BOX 93151                                       CHICAGO       IL   60673-3151
                                                                                                                                                                                     YRC FREIGHT
Active               16772              Yes                 Active     ZURICH AMERICAN INSURANCE COMPANY
                                                                                                     1299 INC
                                                                                                           ZURICH WAY                                    SCHAUMBURG    IL   60196




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                    UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF MINNESOTA
______________________________________________________________________________

In re:                                                             Jointly Administered under
                                                                   19-43756 (WJF)

Granite City Food & Brewery Ltd.                                   19-43756
Granite City Restaurant Operations, Inc.                           19-43757
Granite City of Indiana, Inc.                                      19-43758
Granite City of Kansas Ltd.                                        19-43759
Granite City of Maryland, Inc.                                     19-43760

                  Debtors.                            Chapter 11 Cases
______________________________________________________________________________

                                   ORDER
_____________________________________________________________________________

         Upon application by the Debtors for an Order approving the retention of Duff & Phelps

Securities, LLC, 11150 Santa Monica Boulevard, Floor 6, Los Angeles, California 90025, as

investment bankers and financial advisors for the Debtors in the above-captioned proceeding, the

Court, having reviewed the Debtors’ Application and the Declaration of Brian Cullen filed

therewith and the certificate of review and recommendation for employment by the office of the

United States Trustee, and the files and records herein,

         IT IS ORDERED:

         1.     The employment of Duff & Phelps Securities, LLC as investment bankers and

financial advisors to the debtors-in-possession in carrying out their duties under Title 11 of the

United States Bankruptcy Code is approved upon the terms set forth in the parties’ Engagement

Letter and Addendum.

         2.     Fee applications by Duff & Phelps Securities, LLC may be heard on thirty (30)

day intervals from the commencement of the case.
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                                          BY THE COURT:


Dated:                                    ___________________________
                                           William J. Fisher
                                           United States Bankruptcy Judge
